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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA

  (1) DCCC and
                                                     Case No. 20-CV-00211-JED-JFJ
  (2) OKLAHOMA DEMOCRATIC PARTY,

                    Plaintiffs,
                                                     COMPLAINT FOR INJUNCTIVE AND
         v.                                          DECLARATORY RELIEF

  (1) PAUL ZIRIAX, in his official capacity as
      the Secretary of the Oklahoma State
      Election Board;

  (2) TOM MONTGOMERY, in his official
      capacity as Chairman of the Oklahoma State
      Election Board;

  (3) DR. TIM MAULDIN, in his official
      capacity as Vice-Chairman of the Oklahoma
      State Election Board;

  (4) HEATHER MAHIEU CLINE, in her
      official capacity as a member of the
      Oklahoma State Election Board;
  (5) JERRY BUCHANAN, in his official
      capacity as an alternate member of the
      Oklahoma State Election Board; and

  (6) DEBI THOMPSON, in her official capacity
      as an alternate member of the Oklahoma
      State Election Board,

                    Defendants.


         Plaintiffs DCCC and the OKLAHOMA DEMOCRATIC PARTY file this Complaint for

  Injunctive and Declaratory Relief against Defendants PAUL ZIRIAX, in his official capacity as

  the Secretary of the Oklahoma State Election Board (the “State Board”); TOM MONTGOMERY,

  in his official capacity as Chairman of the State Board; DR. TIM MAULDIN, in his official

  capacity as Vice-Chairman of the State Board; HEATHER MAHIEU CLINE, in her official




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  capacity as a member of the State Board; and JERRY BUCHANAN and DEBI THOMPSON, in

  their official capacities as alternate members of the State Board, and allege as follows:

                                   STATEMENT OF THE CASE

         1.      A highly infectious novel coronavirus is spreading rapidly through the United

  States and the State of Oklahoma. As of the date of this filing, 5,086 Oklahoma residents have

  tested positive for COVID-19—the disease caused by the coronavirus—and it has officially

  claimed the lives of 285 Oklahomans. These numbers are increasing daily. Yet, the Director of the

  Centers for Disease Control and Prevention (“CDC”) is already cautioning of a second, more

  deadly wave coming in the fall, which he predicted will “be even more difficult than the one we

  just went through.” It is anticipated to coincide with the beginning of flu season, just when

  Oklahoma’s voters would ordinarily head to the polls to vote in the coming November 3, 2020

  general election (the “November Election”). Thus, both the upcoming June 30, 2020 primary and

  the November Election are projected to occur during a public health crisis the likes of which this

  country has not seen for over 100 years.

         2.      The disease spreads mainly from person-to-person transfer through respiratory

  droplets when an infected person coughs, sneezes, or even, in some cases, speaks or breathes. It

  has been increasingly discovered that a substantial number of people have become infected by

  contact with an entirely asymptomatic or pre-symptomatic carrier of the virus. Super-spreaders

  who are unaware that they are infected have spread the virus to large numbers of people at family

  gatherings, in their workplaces, at restaurants, at indoor sporting events, and even at a choir

  practice. The virus can also spread from contact with contaminated surfaces of objects. It is highly

  contagious and causes severe symptoms and even death in people of all ages. Elderly Americans

  are particularly at risk, but so are younger Americans with relatively common pre-existing




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  conditions, such as asthma. Some healthy young people have died of the virus, while others have

  suffered severe and debilitating large vessel strokes. More recently, an increasing number of

  children are exhibiting alarming symptoms that seem to be the result of an immunological response

  after they have fought off the virus. Some have ended up on ventilators, and a few have died.

  Experts cannot predict whether a particular person will die or suffer serious complications from

  the virus. Nor can anyone predict who will become an asymptomatic spreader, unwittingly

  infecting their friends, loved ones, and even strangers who they interact with as they go about their

  daily lives.

          3.     As a result, public health experts around the globe, including in local and federal

  government here in the United States, have strongly encouraged broad social distancing and self-

  isolation measures in an attempt to flatten the curve of the virus while we learn how—and ensure

  that our hospitals have the capacity to—fight it. Consistent with that guidance, Oklahoma

  Governor Kevin Stitt has issued a series of executive orders in response to the crisis. The first was

  issued on March 15, 2020, when he declared an emergency in all 77 Oklahoma counties “caused

  by the impending threat of COVID-19” to Oklahomans “and the public’s peace, health, and

  safety.” 1 He ordered all residents over the age of 65 and those who have “serious underlying

  medical conditions” to stay home “to protect the health and lives of Oklahomans, especially our

  vulnerable populations,” and directed those who do leave their homes to engage in social

  distancing “by staying out of crowded places, not gathering in groups, and staying at least 6 feet

  from other people.” 2




  1
                 Governor’s            Exec.              Orders          regarding           COVID-19,
  https://www.ok.gov/okdocc/News_Media/Governor's_Executive_Orders_regarding_COVID-19/index.html.
  2
       See,    e.g.,   Exec.   Dep’t    Fourth     Am.     Exec.    Order  2020-13, Apr.     24,  2020,
  https://www.sos.ok.gov/documents/executive/1937.pdf (emphasis added).


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         4.      The CDC has recommended that, in light of the significant health risks that

  requiring people to congregate in large numbers currently pose, jurisdictions encourage voters to

  vote absentee and broadly reduce methods of voting that lead to direct contact with other people,

  including among voters and between voters and poll workers. Jurisdictions that have held elections

  since the crisis began have, not surprisingly, found that extraordinarily high numbers of voters are

  choosing to exercise their right to vote absentee, while at the same time people who in the past

  would have volunteered to staff the polls (many of whom are elderly and thus in a particularly high

  risk group for serious complications from COVID-19) are refusing to do so, and many locations

  that previously served as polling places, such as senior centers and schools, are unwilling to open

  their doors for that purpose.

         5.      In Oklahoma, too, it is certain that large numbers of voters will turn to voting

  absentee in order to exercise their right to the franchise. Oklahoma permits all of its registered

  voters to apply to vote absentee. Okla. Stat. tit. 26, § 14-105. But mere statutory access to voting

  absentee is not sufficient to protect voters’ constitutional rights in the face of this pandemic. As

  the U.S. Supreme Court said long ago, “There is more to the right to vote than the right to mark a

  piece of paper and drop it in a box or the right to pull a lever in a voting booth. The right to vote

  includes the right to have the ballot counted.” Reynolds v. Sims, 377 U.S. 533, 555 n.29 (1964)

  (citation and quotation omitted). Oklahoma law currently imposes several burdensome restrictions

  and procedures that threaten to deny countless of the State’s lawful, eligible voters this right.

  Unless rectified, these barriers will force voters to choose between their health and the health and

  safety of their community on the one hand, and their fundamental right to vote on the other. This

  is a choice that the U.S. Constitution does not permit states to force its voters to make.




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         6.      The provisions at issue are Oklahoma’s (1) onerous and unnecessarily burdensome

  notarization, witnessing, and Photo ID requirements, Enr. S.B. 210; Okla. Stat. tit. 26, §§ 14-113.2,

  16-123.1 (the “Notarization/Witness/Photo ID Requirement”), (2) refusal to prepay for postage to

  return completed absentee ballots (the “Postage Requirement”); (3) rejection of absentee ballots

  delivered after 7:00 p.m. on Election Day, id. § 230:30-11-5(a); Okla. Stat. tit. 26 § 14-104; (the

  “Election Day Receipt Deadline”); and (4) ban on organizations, like Plaintiffs DCCC and the

  Oklahoma Democratic Party, from collecting absentee ballots except in the case of physically

  incapacitated or emergency incapacitated voters, Okla. Admin. Code §§ 230:30-9-6(g),

  230:30-11-1.1(a); Okla. Stat. tit. 26, §§ 14-108(A), 14-115.1 (the “Absentee Assistance Ban”).

         7.      Absent injunctive and declaratory relief, these laws (together, the “Challenged

  Provisions”) will operate independently and together to severely burden the right to vote of

  thousands of Oklahomans, in many cases resulting in complete disenfranchisement. For these

  reasons and those set forth below, this Court should declare unconstitutional and enjoin each of

  the Challenged Provisions.

                                   JURISDICTION AND VENUE

         8.      Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress the

  deprivation, under color of state law, of rights secured by the U.S. Constitution.

         9.      This Court has original jurisdiction over the subject matter of this action pursuant

  to 28 U.S.C. §§ 1331 and 1343 because the matters in controversy arise under the U.S. Constitution

  and laws of the United States.

         10.     This Court has personal jurisdiction over Defendants, members of the Oklahoma

  State Election Board, who are sued in their official capacities only.




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          11.        Venue is proper in this Court under 28 U.S.C. § 1391(b) because all Defendants are

  residents of Oklahoma, in which this judicial district is located, and a substantial part of the events

  that gave rise to Plaintiffs’ claims occurred in this judicial district.

          12.        This Court has the authority to enter a declaratory judgment and preliminary and

  permanent injunctive relief pursuant to Federal Rules of Civil Procedure 57 and 65 and 28 U.S.C.

  §§ 2201 and 2202.

                                                 PARTIES

          13.        Plaintiff DCCC is the national congressional committee of the Democratic Party,

  as the term is defined by and used in 52 U.S.C. § 30101(14). Its mission is to elect Democrats to

  Congress, including from Oklahoma’s five congressional districts. DCCC works to accomplish its

  mission by, among other things, making expenditures for, and contributions to, Democratic

  candidates for U.S. Congress and assisting state parties throughout the country, including in

  Oklahoma. DCCC intends to expend significant resources to support Democratic candidates in the

  State this year.

          14.        For example, DCCC will devote considerable time educating an Oklahoma-based

  field team to engage in aggressive get-out-the-vote (“GOTV”) efforts, including educating voters

  about voting absentee, distributing absentee ballot applications to voters, and mobilizing and

  turning out voters in Oklahoma elections this year.

          15.        DCCC’s efforts will include focusing on supporting specific subsets of voters,

  including low income voters, voters whose essential work (including e.g., in medical care, food

  delivery, and grocery stores, to mention just a few) puts them at higher risk of contracting the

  virus, as well as on elderly voters, who are at high risk of complications from COVID-19, and thus

  have a significant need to vote absentee.




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         16.     DCCC will devote substantial time and resources explaining the Challenged

  Provisions as part of its voter education efforts, including the Notarization/Witness/Photo ID

  Requirement, which did not exist in its current form before this election. DCCC will inform voters

  that they must have their ballots notarized or, if they are “physically incapacitated” under the

  Legislature’s new definition of that term or caring for someone “physically incapacitated,” they

  must have their ballots witnessed by two individuals or submitted with a photocopy of valid photo

  identification. DCCC will have to divert more resources to educating voters about what types of

  identification are permissible, and that the individual is submitting the affidavit under penalty of

  perjury. DCCC will also instruct voters about the limited number of ballots notaries and witnesses

  are permitted to sign.

         17.     In addition, DCCC will have to divert resources to explain the process for returning

  absentee ballots, including the methods (in person and by mail), the Postage Requirement, and the

  Election Day Receipt Deadline. DCCC will divert resources to give guidance on when voters

  should mail their absentee ballots to ensure that they are received in time to be counted.

         18.     DCCC’s efforts would also include assisting voters in delivering their sealed and

  voted ballots upon request, if not for the Absentee Assistance Ban. Absent the Ban, DCCC would

  concentrate on helping primarily low-income communities—that tend to have fewer polling

  locations and difficulty staffing these locations—for whom ballot collection is particularly

  important.

         19.     The Challenged Provisions directly harm DCCC by frustrating its missions of

  turning out Democratic voters who face greater obstacles to voting, such as the elderly and lower-

  income voters, and electing Democratic candidates. The provisions make it harder for Democratic

  voters, DCCC’s constituents who associate with them to further their shared political and




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  expressive ends, to vote. For example, the Notarization/Witness/Photo ID Requirement makes

  voting more burdensome by requiring many Democratic voters to leave their houses during a

  pandemic to locate notaries, who are difficult to find in the State and inaccessible to many,

  including low-income and rural voters. There are also an insufficient number of notaries for all

  registered voters to cast their ballots. Because fewer voters will be able to vote for Democratic

  candidates for U.S. Congress, the Challenged Provisions harm the Democratic candidates DCCC

  supports in Oklahoma. In addition, decreased voter turnout undermines DCCC’s fundamental right

  to choose its standard bearers through a vote that accurately reflects the preferences of Democratic

  Party membership.

         20.     Plaintiff the Oklahoma Democratic Party is the Oklahoma state party committee of

  the national Democratic Party, as the term is defined by and used in 52 U.S.C. §§ 30101(4), (15),

  and a political party within the meaning of 52 U.S.C. § 30101(16). The Oklahoma Democratic

  Party is certified by the State Board to nominate candidates for office to be voted on in a general

  or special election and nominates candidates on a regular basis by party primary. Okla. Stat. tit.

  26, § 1-102. The Oklahoma Democratic Party has an interest in ensuring that voters have an

  opportunity to express their will regarding Democratic Party candidates running for elections, as

  well as ballot measures and initiatives those individuals support. The Oklahoma Democratic Party

  has hundreds of thousands of members and constituents from across the State, including

  Oklahomans who regularly support candidates affiliated with the Democratic Party and

  Democratic Party candidates. To accomplish its purpose, the Oklahoma Democratic Party engages

  in vitally important activities, including GOTV activities to support Democratic Party candidates

  in national, state, and local elections through a meaningful opportunity to cast ballots in Oklahoma.




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         21.     These activities include broad-based education campaigns for Democratic voters

  on the procedures and deadlines for voting both absentee and in person, including how to comply

  with the Challenged Provisions.

         22.     This year in particular, the Oklahoma Democratic Party’s GOTV efforts are even

  more important due to voter confusion surrounding the Notarization/Witness/Photo ID

  Requirement. The Oklahoma Democratic Party has already had to divert resources to respond to a

  high volume of calls and emails from Democratic voters unsure whether they must have their

  ballots notarized. This is due to the Oklahoma Supreme Court striking down a notarization

  requirement, only for the Legislature to enact a few days later a brand new and more complicated

  Notarization/Witness/Photo ID Requirement. As a result of voter confusion, the Oklahoma

  Democratic Party will divert resources to engage in paid canvassing and paid social media to

  clarify how voters must complete their ballots. This includes informing voters that they must have

  their ballots notarized or, if they are “physically incapacitated” under the Legislature’s new

  definition of that term or caring for someone “physically incapacitated,” they must have their

  ballots witnessed by two individuals or submitted with a photocopy of valid photo identification.

         23.     Due to the Notarization/Witness/Photo ID Requirement, the Oklahoma Democratic

  Party has diverted resources from other programs and day-to-day activities that are core to its

  mission, including programs to elect Democratic Party candidates in Oklahoma, in order to attempt

  to help its voters overcome the barriers presented by the lack of safe means to cast their ballots. In

  addition, because a significant number of Oklahoma voters will be voting absentee for the first

  time this year, the Oklahoma Democratic Party will need to further divert resources to educate

  voters on how to complete their absentee ballots, despite the Challenged Provisions. This diversion




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   of resources will only increase, and will be unprecedented, as the primary and general elections

   get closer.

           24.    Moreover, the Oklahoma Democratic Party’s efforts would also include assisting

   voters in delivering their sealed and voted ballots upon request, if not for the Absentee Assistance

   Ban. Absent the Ban, the Oklahoma Democratic Party would concentrate on helping voters—

   particularly those with limited mobility and lack of ready access to postage—who reside in

   retirement homes and assisted living homes, and for whom ballot collection is particularly

   important to ensure that they are able to timely return their ballots to the appropriate elections

   officials.

           25.    An election held without accounting for the COVID-19 pandemic directly harms

   the Oklahoma Democratic Party because it frustrates its mission and the effectiveness of its efforts

   to persuade and mobilize voters to vote for Democratic candidates and causes. The Challenged

   Provisions impede Democratic voters’ ability to exercise their constitutional right to vote. For

   example, the Notarization/Witness/Photo ID Requirement imposes an undue burden on many

   Democratic voters who are confused, so close to the primary election, whether they need to have

   their absentee ballot notarized, and who are required to leave their houses during a pandemic to

   locate notaries. Because fewer voters will be able to vote for Democratic candidates, the

   Challenged Provisions harm the Democratic candidates the Oklahoma Democratic Party supports.

   In addition, decreased voter turnout injures undermines Oklahoma Democratic Party’s

   fundamental right to choose its standard bearers through a vote that accurately reflects the

   preferences of Democratic Party membership.

           26.    Defendant Paul Ziriax is the Secretary of the Oklahoma State Election Board, the

   State’s chief election official, and is named as a Defendant in his official capacity. The Secretary




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   oversees county election boards and is responsible for “promulgat[ing], repeal[ing] or

   modify[ing]” rules or regulations to “maintain[ ] uniformity in the application, operation and

   interpretation of the state and federal election laws[.]” Id. § 2-107.

          27.     Defendant Tom Montgomery is the Chairman of the Oklahoma State Election

   Board and is named as a Defendant in his official capacity. Defendant Dr. Tim Mauldin is the

   Vice-Chairman of the Oklahoma State Election Board and is named as a Defendant in his official

   capacity. Defendant Heather Mahieu Cline is a member of the Oklahoma State Election Board and

   is named as a Defendant in her official capacity. Defendants Jerry Buchanan and Debi Thompson

   are alternate members of the Oklahoma State Election Board and are named as Defendants in their

   official capacities. These Defendants compose the Oklahoma State Election Board. Their

   responsibilities include, but are not limited to, administering and enforcing Oklahoma’s election

   laws and overseeing elections. See id. § 2-106; Okla. Const. art. 3, § 2.

          28.     At all times relevant to this action, Defendants have acted under color of state law.

                                STATEMENT OF FACTS AND LAW

   A.     As the COVID-19 pandemic persists, an unprecedented number of Oklahomans will
          rely upon voting absentee.

          29.     Because of the risks of voting in person in the midst of this unprecedented public

   health crisis, states that have held elections since the pandemic begun have experienced dramatic

   increases in voting absentee by eligible voters.

          30.     For example, Wisconsin reported issuing almost 1.3 million absentee ballots in the

   primary election it held last month, representing a striking increase from a total of 101,803 during

   the 2016 primary.




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           31.      That same month, Ohio experienced a 421 percent increase in requests to vote

   absentee in its primary when compared with absentee voter turnout in 2016, the last time the state

   held a primary in a presidential election year.

           32.      There is no reason to expect that Oklahoma’s electorate will not similarly choose

   overwhelmingly to vote absentee.

           33.      In the midst of the pandemic, the risks of voting in person remain significant even

   when elections officials attempt to comply with social distancing and sanitizing requirements.

           34.      In Wisconsin, for example, where thousands of voters did not receive the absentee

   ballots in time to vote or return them in time to be counted, a significant number of voters presented

   in person at the polls to vote on Election Day. Although the State imposed social distancing and

   took other precautions against the spread of the virus, public officials have identified over 60

   people, including poll workers, who tested positive for COVID-19 after voting or working at

   polling places in the primary election.

           35.      Even before Wisconsin, the CDC, recognizing the serious risks involved, advised

   states to encourage voting absentee and recommended that voters “use voting methods that

   minimize direct contact with other people and reduce crowd size at polling stations.”

           36.      Defendant Ziriax declared an “election emergency” in Oklahoma on March 18 and

   again on April 10, agreeing with the CDC’s recommendations. The first election emergency

   “require[d] County Election Boards to accept resolutions adopted by the governing bodies of

   school districts, municipalities, technology districts and counties to move their April 7 elections to

   another date” to “help efforts to flatten the COVID-19 curve.” 3 The second “election emergency”



   3
    Okla. State Election Bd., State Election Board Secretary Declares Election Emergency; Authorizes Local Entities to
   Reschedule                                (Mar.                             18,                            2020),
   https://www.ok.gov/triton/modules/newsroom/newsroom_article.php?id=196&article_id=56539.


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   involved the “contests of candidacy”⸺where a candidate for state or federal office can challenge

   another’s candidacy for the same office⸺scheduled for April 21. Although the Board “historically

   held all contest of candidacy hearings” in the State Capitol open to the public, Defendant Ziriax

   agreed with “recommendations from the” CDC, “the Oklahoma State Department of Health” “and

   other health experts that large public gatherings should be limited in an effort to decrease the risk

   of the community spread of COVID-19.” As a result, he “strongly encouraged” everyone to attend

   the contests by teleconference or videoconference. 4

          37.     Since 1995, Oklahoma has permitted all registered voters to vote absentee in any

   state and federal election without an excuse. See Laws 1995 c.290, § 14-105, eff. Nov. 1, 1995

   (SB 556).

          38.     Voters may apply for absentee ballots electronically, by fax, mail, telegram, or in

   person. See Okla. Admin. Code §§ 230:30-5-13(a), 230:30-9-9.

          39.     But mere statutory access to absentee voting is not sufficient to protect voters’

   constitutional rights in the face of this pandemic.

          40.     At issue in this case are several provisions of Oklahoma law that impose

   burdensome restrictions and procedures that threaten to deny countless of the State’s lawful,

   eligible voters the right not only to cast an absentee ballot, but to have it counted.

   B.     The Notarization/Witness/Photo ID Requirement is dangerous for Oklahoma voters
          and cannot be justified by sufficiently weighty State interests.

          41.     Oklahoma requires that elections officials reject absentee ballots unless they have

   their absentee ballot affidavit notarized. Okla. Stat. tit. 26, § 14-108. The affidavit is a separate

   document sent to the voter with the ballot “stating that the voter is qualified to vote and that the


   4
       Okla. State Election Bd., Declaration of Election Emergency 2020-02 (Apr. 10, 2020),
   https://www.ok.gov/elections/documents/DECLARATION%20OF%20ELECTION%20EMERGENCY%202020-
   02-Sealed%20and%20Notarized.pdf.


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   voter has personally marked the ballots, and has not exhibited the marked ballots to any other

   person” (the “Notarization Requirement”). Id. § 14-107(A)(2). The only exceptions to the

   Notarization Requirement are for (1) physically incapacitated voters, (2) voters who are caregivers

   for physically incapacitated voters, and (3) voters who provide a photocopy of certain specific

   forms of photo identification (the “Photo ID Requirement”). Id. §§ 14-110.1, 14-113.2(A).

          42.     The Photo ID Requirement was created by the Legislature in response to the

   Oklahoma Supreme Court decision in The League of Women Voters of Okla. v. Ziriax, No.

   118765, -- P.3d --, 2020 OK 26, 2020 WL 2111348 (Okla. May 4, 2020) (citing Okla. Stat. tit. 12,

   § 426), issued earlier this month, in which the Court struck down the Notarization Requirement

   for all other voters, finding that it was sufficient for voters to, instead, simply sign the ballot

   affidavit under penalty of perjury.

          43.     Four days later, the Legislature approved SB 210, which reinstated the Notarization

   Requirement and created the Photo ID Requirement, which allows a voter to avoid the Notarization

   Requirement if they both sign their ballot affidavit under penalty of perjury and submit, with their

   ballot, a photocopy of a form of photo identification that Oklahoma would deem acceptable had

   the voter cast his or her ballot in person. Okla. Stat. tit. 26, § 7-114 (listing acceptable forms of

   photo ID).

          44.     Under Oklahoma law, qualifying photo identification for voting purposes contains

   a name, photograph, expiration date after the election, and was issued by “the United States, the

   State of Oklahoma or the government of a federally recognized Indian tribe or nation.” Id. A “voter

   identification card issued by the appropriate county election board” also counts. Id.

          45.     The Photo ID Requirement also allows a physically incapacitated voter, and those

   caring for physically incapacitated voters, to avoid having two individuals witness the voter’s




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   signature and sign their signatures and addresses (the “Witness Requirement”, id. § 14-113.2(A)),

   if the voters both sign their ballot affidavit under penalty of perjury and submit, with their ballot,

   a photocopy of a form of photo identification that Oklahoma would deem acceptable had the voter

   cast his or her ballot in person.

           46.       Each of these requirements, which are referred to collectively throughout this

   Complaint as the Notarization/Witness/Photo ID Requirement, impose substantial, unjustifiable

   burdens on Oklahoma voters who vote absentee.

                                         The Notarization Requirement

           47.       The Notarization Requirement requires that absentee voters who are not physically

   incapacitated or caring for physically incapacitated persons get their ballot affidavits notarized. Id.

   § 14-108.

           48.       Almost all Oklahomans who need to find a notary will have to leave their homes in

   order to do so.

           49.       There are currently 76,458 notaries registered in Oklahoma, as compared with the

   2.09 million voters registered in Oklahoma, as of January 2020.

           50.       Thus, in nearly all cases, the Notarization Requirement will compel the voters who

   must satisfy it to interact with another person—almost certainly outside of their home—and touch

   common objects, risking exposure to COVID-19, in order to exercise their right to vote.

           51.       Oklahoma further forbids a notary from notarizing more than 20 ballots in a given

   election unless the notary is at his or her place of business. Id. § 14-108.1. Yet, as a result of the

   COVID-19 epidemic, substantial numbers of the State’s notaries are likely not working from their

   “place of business,” as many businesses remain shuttered for the safety of Oklahoma citizens.




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          52.     As a result, even if some number of notaries were willing to make themselves

   available and literally go door-to-door in order to notarize absentee ballots, finding some way to

   do so in a manner that kept themselves and the voters safe, they would be limited in their reach

   because of the restrictions placed on the number of ballots they may notarize.

                                          The Witness Requirement

          53.     The exception carved out for physically incapacitated voters and those who are

   caregivers for physically incapacitated voters is equally problematic.

          54.     To utilize this exception, voters must have their signatures witnessed by two other

   people, who must also sign the voter’s affidavit and provide their addresses. Id. § 14-113.2(A).

          55.     Voters who use the witness exception for physically incapacitated voters and their

   caretakers must return their ballots by mail—in person delivery is not permitted. Id. §§ 14-108(A),

   14-113.2(A).

          56.     In enacting SB 210, the Oklahoma Legislature amended the definition of what

   constitutes as “physically incapacitated” for these purposes to include a narrow sliver of

   Oklahomans affected by COVID-19.

          57.     Specifically, if “a State of Emergency declared by the Governor related to the

   COVID-19 pandemic is in effect forty-five days prior to a scheduled election, or is declared within

   forty-five days of the election,” “physically incapacitated” voters may also include the following

   narrow categories of voters: (1) those who have tested positive for COVID-19 and are receiving

   treatment or subject to quarantine under doctor’s or health department orders; (2) people tested for

   COVID-19 awaiting results; (3) people exhibiting symptoms of COVID-19 who have been advised

   by the voter’s personal physician or the county health department to quarantine or self-isolate; (4)

   people in “group[s] considered at ‘higher risk of severe illness’ due to age or underlying health




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   conditions as defined by the CDC, and as such are subject to a ‘stay at home’ or ‘safer at home’

   or similar order by the Governor or by an authorized municipal authority; or (5) voters with a

   “written recommendation from the voter’s personal physician that due to an underlying health

   condition the voter should not leave his or her home due to the COVID-19 pandemic.”

           58.      The written recommendations from public health officials telling all people to stay

   at home and at least six feet away from other people due to the risk of transmission via

   asymptomatic carriers do not qualify for the revised definition of “physically incapacitated,” as

   enacted by the Legislature in SB 210.

           59.      A substantial number of physically incapacitated voters will have to leave their

   homes and break quarantine—or invite additional persons in their home despite their self-

   isolation—to obtain the two witnesses required to satisfy this requirement.

           60.      More than 416,000 people in Oklahoma live in households with fewer than three

   adults. Those voters cannot rely on members of their household to serve as witnesses and have no

   choice but to venture outside of their safe spaces, or invite others in.

           61.      And these voters must interact with not just one but two other people, and touch

   common objects, in the process risking exposure to COVID-19, in order to be able to exercise their

   right to vote.

           62.      Those newly designated as “physically incapacitated” by SB 210—i.e., those voters

   who have or are suspected by medical personnel to have an active case of COVID-19—will almost

   certainly fail to find two witnesses willing to risk exposure to the virus in order to assist the person

   in voting.

           63.      The Witness Requirement also imposes a particular burden on physically

   incapacitated voters at long-term care facilities and retirement homes.




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              64.     In the current pandemic, visitors are broadly prohibited “from entering and visiting

   patients and residents at nursing homes, long-term care facilities, and retirement homes” except in

   end-of-life situations. 5

              65.     The new law, SB 210, requires “a designated official” at nursing homes and

   veterans’ centers to serve as a witness for ballot affidavits. It is not clear if, by requiring this

   designation, the Legislature intended to permit residents of nursing homes and veterans’ centers

   to comply with the Witness Requirement by obtaining only one witness signature, not the two

   otherwise required.

              66.     That said, facilities like nursing homes, long-term care facilities, and retirement

   homes, have had some of the highest concentrated death tolls in the pandemic. Thus, requiring a

   single individual to serve as the witness for every voter’s absentee ballot in such a facility, a

   process that requires the witness and voter to be in close proximity and handle the same document,

   creates an unnecessary, heightened risk in the heart of Oklahoma’s most vulnerable facilities.

              67.     SB 210 has no carveout for other long-term care facilities or retirement homes.

   Thus, physically incapacitated voters at those locations still must find two other residents or

   staffers willing to violate social distancing measures and handle the voters’ ballots in order to

   exercise their right to vote.

              68.     Neither the Notarization nor the Witness Requirement serves any State interest that

   can justify the burdens they impose on voters, particularly in the midst of this unprecedented health

   crisis.




   5
       See Exec. Dep’t Fourth Am. Exec. Order 2020-13, supra note 2.



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           69.     Oklahoma is one of only five states that require absentee voters to obtain

   notarization or two witnesses. 6 There is no evidence that the states without such requirements are

   overrun by voter fraud. Indeed, voter fraud is extremely rare in Oklahoma and elsewhere.

                                              The Photo ID Requirement

           70.     Far from alleviating the burdens imposed on voters by the Notarization or Witness

   Requirements, the Photo ID Requirement imposes its own equally unjustifiable burdens on and

   hurdles to Oklahomans’ successful exercise of the right to vote.

           71.     The Photo ID Requirement requires voters to submit either a photocopy of “a voter

   identification card issued by the appropriate county election board” or a government-issued

   document that has their name, photograph, and an expiration date after the election. Enr. S.B. 210;

   Okla. Stat. tit. 26, §§ 14-108(A), 14-113.2(A). Voters must return their ballots in person or by

   mail. Id.

           72.     To use the Photo ID Requirement, a voter must have access to a scanner and printer,

   which many voters do not have at home.

           73.     As with most of the requirements, the burden falls heaviest on low-income and

   elderly voters, as well as students, many of whom do not own printers and scanners.

           74.     A State Department of Education survey found that “roughly one in three students”

   in Oklahoma does not even have a computer at home.

           75.     Almost 21 percent of Americans over 65 live in a household without a computer.




   6
    North Carolina, Rhode Island, Mississippi, and Missouri are the others. See Ala. Code §§ 17-9-30(b), 17-11-7,
  17-11-10; Alaska Stat. § 15.20.030; La. Stat. § 18:1306(2)(a); Minn. Stat. § 203B.07; Miss. Code §§ 23-15-627,
  23-15-635, 23-15-633; Mo. Rev. Stat. §§ 115.279, 115.283, 115.295; N.C.G.S. § 163-231; Okla. Stat. tit. 26, §§
  14-108, 14-113.2(A); 17 R.I. Gen. Laws § 17-20-23; S.C. Code §§ 7-15-220, 7-15-230; Va. Code §§ 24.2-706,
  24.2- 707; Wis. Stat. § 6.87(4)(b)1; see also Voting Outside the Polling Place: Absentee, All-Mail and other Voting
  at Home Options, NCSL, https://www.ncsl.org/research/elections-and-campaigns/absentee-and-early-voting.aspx.


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           76.     Countless voters who desire to use the Photo ID Requirement will thus have to

   leave their homes and risk being exposed to COVID-19 in order to do so.

           77.     Even then, they may not be able to easily access a scanner and photocopy machine,

   because business and libraries are currently closed. If the voter finds one, they may very well have

   to pay a fee to utilize it. And, of course, in utilizing that machinery, they are likely to not only have

   to interact with other people, but also to touch surfaces that have been recently touched by other

   people, needlessly risking exposure to the virus.

           78.     That the Notarization/Witness/Photo ID Requirement is not necessary to ensure the

   integrity of Oklahoma’s elections (or serve any other legitimate government purpose) is

   demonstrated by the fact that Oklahoma does not impose any of these restrictions on

   uniformed-service or overseas voters who vote absentee. See Uniform Military and Overseas

   Voters Act, Okla. Stat. tit 26, § 14-136, et seq. Those voters need only sign the ballot affidavit and

   declare that “a material misstatement of fact . . . may be grounds for a conviction of perjury.” See

   id. § 14-148.

           79.     Similarly, no notarization, witness signatures, or photocopy of photo identification

   is required for emergency incapacitated voters—“voters who become[ ] incapacitated after 5:00

   p.m. on [the] Tuesday preceding an election”—who return their absentee ballots by mail. Id.

   § 14-115.1.

           80.     Multiple other Oklahoma laws ably and adequately deter and punish voter fraud,

   rendering the Notarization/Witness/Photo ID Requirement unnecessary.

           81.     Voters who (1) “knowingly execute[ ] a false application for an absentee ballot[,]”

   id. § 16-102.2; (2) “knowingly swear[ ] or affirm[ ] a false affidavit[,]” id. § 16-103; and

   (3) “knowingly vote and submit[ . . .] absentee ballot[s] issued to another person” and who




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   “knowingly conspire[ ] to commit fraud or perpetrate[ ] fraud[,]” id. §§ 16-102, 16-105, are guilty

   of a felony.

          82.     And voters who “interfere[ ] with a registered voter who is attempting to vote” or

   “with the orderly and lawful conduct of an election” or who “attempt[ ] to influence the vote of

   another by means of force or intimidation” are guilty of a misdemeanor. Id. § 16-113.

   C.     The Postage Requirement will require Oklahoma voters to pay to vote safely and
          cannot be justified by sufficiently weighty State interests.

          83.     Because Oklahoma does not provide prepaid postage on its absentee ballots, voters

   who mail in their absentee ballot must incur and bear a monetary burden in order for their vote to

   be counted.

          84.     The Postage Requirement also presents several practicable problems that will prove

   for some voters, particularly in the context of the current pandemic, insurmountable.

          85.     The severity of the burdens imposed by the Postage Requirement are significantly

   exacerbated under the present circumstances, when many Oklahomans are experiencing significant

   financial struggles due to the economic impact of COVID-19.

          86.     Many people do not keep stamps at home. The volume of mail sent thorough the

   U.S. Postal Service (“USPS”) has declined 43 percent since 2001. Many now pay their bills and

   otherwise conduct their communications online, and the result has been that stamps are no longer

   a household staple.

          87.     Before the pandemic, a voter with access to reliable transportation could go to the

   post office to buy a single stamp; today, where many voters who request an absentee ballot will be

   doing so because they have underlying conditions that put them at higher risk for severe

   complications from COVID-19, doing so could pose an equally severe threat to their health.




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          88.     While there are some services that allow voters to print postage online, these

   services also require a printer, scale, and paid subscription.

          89.     A voter can order stamps online on the USPS website, however, they take five to

   seven days to be delivered under normal circumstances, are not sold individually, must be

   purchased on a sheet of stamps that costs a minimum of $11.00, and require the purchaser to pay

   for shipping and handling of the stamps themselves.

          90.     It is also not always clear how much postage a voter may need in order to return his

   or her ballot. Depending on the number of races at issue in a given jurisdictions, it may require

   more than one First-Class stamp to cover the return postage.

          91.     While these financial costs may seem trivial to some, an estimated 275,000 jobs

   have already been impacted in Oklahoma as a result of COVID-19, with unemployment claims in

   the State at nearly five times higher than the 1991 record for first-time State filings.

          92.     The reality is that that many Oklahomans are counting every penny, and this

   additional burden, together with legitimate concerns about exposing themselves to the virus, is

   highly likely to cause widespread and unjustifiable disenfranchisement.

          93.      For voters who do not receive their ballots in the mail until close to Election Day—

   a problem that thousands of Wisconsin voters encountered in the recent primary election there—

   the cost to overnight or expedite their ballot to ensure that it arrives by 7:00 p.m. on Election Day

   discussed below, will impose further burdens on their right to vote.

          94.     All of these burdens will fall disproportionately on the socioeconomically

   disadvantaged, many of whom are constituents of DCCC and Oklahoma Democratic Party.

          95.     Lower income and younger voters are less likely to have a stamp on hand. Although

   people can buy stamps online, many voters do not have internet access, a credit card, and a printer.




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              96.      Even if voters have the means to purchase stamps, many voters will have to leave

   their homes in order to obtain them⸺a dangerous proposition during the COVID-19 crisis.

              97.      The trip to a post office or other establishment that sells stamps is even more

   dangerous for those who lack vehicles and must rely on public transportation. Some rural voters

   in Oklahoma do not have viable public transportation options.

              98.      There is evidence that postage costs broadly burden voters and that voter turnout

   dramatically increases when voters do not have to pay for postage. During the 2017 and 2018

   primary elections in King County, Washington, thousands of voters received envelopes with

   postage prepaid. Those pilot programs resulted in a double-digit increase in the percentage of voter

   turnout in at least one town. In May 2018, Washington State started funding prepaid absentee

   ballots in the remaining counties.

              99.      Oklahoma recognizes that postage is a burden on voters. That is why Oklahoma

   citizens living overseas and military personnel abroad need not pay for postage to mail their

   completed absentee ballots. 7 “Any American voter living overseas can mail his or her completed

   ballot back to the United States free of charge at the nearest American embassy, consulate, or

   Diplomatic Post Office (DPO). If the voter has authorized access to a military base, he or she can

   mail a ballot free of charge at the nearest Army Post Office (APO) or Fleet Post Office (FPO).” 8

              100.     The State’s only conceivable interest in the Postage Requirement is budgetary,

   which cannot outweigh the burden on the right to vote.

              101.     Governments, including Oklahoma’s, already provide postage to enable citizens to

   readily complete other government forms. For instance, the U.S. Census Bureau sends surveys

   with postage-prepaid return envelopes. And, in compliance with the National Voter Registration


   7
       See Election Mail, U.S. Postal Serv., https://about.usps.com/postal-bulletin/2020/pb22539/html/cover_006.htm.
   8
       Id. (emphasis added).


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   Act, Oklahoma mails postage-prepaid voter registration cards for selected voters to confirm their

   address.

           102.     For all of these reasons, the Postage Requirement is unconstitutional because voters

   must pay to vote safely and, at the very least, it imposes an unnecessary cost on the fundamental

   right to vote.

   D.      The Election Day Receipt Deadline will result in large-scale disenfranchisement that
           cannot be justified by sufficiently weighty State interests.

           103.     Voters can request an absentee ballot up until 5:00 p.m. on the Wednesday before

   the election, Okla. Stat. tit. 26, § 14-103, but Oklahoma rejects absentee ballots unless they are

   received by the secretary of each county election board by 7:00 p.m. on Election Day, regardless

   of when the voter first received the ballot from elections officials, when the voter actually mailed

   it back, or when the ballot was postmarked, id. § 14-104; Okla. Admin. Code § 230:30-11-5(a).

           104.     Thus, even where voters overcome the multiple obstacles already discussed that

   operate to hinder their ability to complete and return their ballots, the Election Day Receipt

   Deadline threatens to disenfranchise them.

           105.     Even before the current pandemic, in the past four years, nearly 3,000 absentee

   ballots were rejected in Oklahoma because of the Election Day Receipt Deadline.

           106.     In many cases, the Election Day Receipt Deadline threatens to disenfranchise voters

   for circumstances entirely beyond their control.

           107.     As a result of the anticipated deluge of absentee ballot requests and returns,

   understaffed clerk’s offices, and the USPS’s current budget crisis—as well as reductions in

   available staff, resulting from the current pandemic—which has rendered mail service increasingly

   slow and unpredictable, Oklahomans might receive their absentee ballots too late to return them

   before 7:00 p.m. on Election Day, even if they turned the ballots around immediately.



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           108.     Exacerbating the problem is the lack of clear and consistent guidance to voters from

   Oklahoma elections officials about when to mail their absentee ballots.

           109.     The U.S. Election Assistance Commission recommends voters “assume one week

   for USPS delivery” of their ballots to election officials under normal circumstances, and that

   elections officials “consistently communicate[ this message] to voters who use absentee ballots. 9

           110.     And a study of USPS delivery of absentee ballots recommended that voters must

   place “their ballots in the mail five days prior to Election Day for states” with an Election Day

   receipt deadline. 10

           111.     There is no notice of these or any time frames on Oklahoma’s State Board or county

   election board websites, so voters are left to make their own guess as to when they must mail their

   ballot in order to have a reasonable chance of it reaching the county secretary’s office by the

   Election Day Receipt Deadline.

           112.     The Election Day Receipt Deadline will threaten more voters with

   disenfranchisement than ever before in the coming election, when many voters who opt to cast

   their ballots by mail will be doing so for the first time.

           113.     These first-time absentee voters are less likely to be familiar with the Election Day

   Receipt Deadline, especially when many other mail deadlines in Oklahomans’ lives are

   postmark-related. 11




   9
     2018 Election Cycle Preparation: Tips for State and Local Election Officials, U.S. Election Assistance Comm’n
   Standards                            Bd.                     -                       USPS                 Comm.,
   https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_election_prep_vote_by_mail_one.pdf; see also Voting by
   Mail/Absentee                  Voting,             U.S.           Election              Assistance       Comm’n,
   https://www.eac.gov/election-officials/voting-by-mail-absentee-voting.
   10
       Bipartisan Policy Ctr., The New Realities of Voting by Mail in 2016, at 8, available at
   https://bipartisanpolicy.org/wp-content/uploads/2019/03/BPC-Voting-By-Mail.pdf.
   11
      See, e.g., Okla. Stat. tit. 68, § 221.1(A) (applying postmark deadline to tax returns and payments).


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          114.    Voters who have historically cast their ballots on Election Day at the polls are also

   accustomed to having until Election Day to decide for whom to vote. By effectively requiring these

   voters to cast their absentee ballots a full week before Election Day for those ballots to be counted,

   the Election Day Receipt Deadline forces Oklahoma voters to forego information about the

   election or the candidates that may arise in the final week leading up to Election Day that could

   influence their decision. The Election Day Receipt Deadline thus deprives voters of the ability to

   engage in this robust period of civic engagement.

          115.    As noted above, the pandemic will only make the risk of disenfranchisement posed

   by the Election Day Deadline more severe and substantially more likely to impact a significantly

   larger number of voters than in the past. As in other states that have held elections since the

   pandemic began, county election boards⸺likely understaffed or working remotely due to the

   pandemic and related government orders⸺will be delayed in turning around absentee ballot

   requests. And strain on the USPS will compound that delay. Voters in other states have recently

   reported significant mail delays. As discussed above, the USPS is struggling financially, and

   operations have slowed due to the pandemic.

          116.    In Wisconsin’s April election, for example, thousands of voters had not received

   their timely requested absentee ballots by that state’s Election Day receipt deadline.

          117.    In litigation brought in part to protect voters from disenfranchisement as a result of

   that deadline, the U.S. Supreme Court affirmed an extension of the Election Day receipt deadline

   in Wisconsin, acknowledging that the state’s interest in enforcing the deadline during the pandemic

   was far outweighed by the voters who would otherwise be disenfranchised if ballots postmarked

   by Election Day were not counted. See RNC v. DNC, 140 S. Ct. 1205, 1208 (2020) (per curiam).




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           118.     As a result, over 140,000 Wisconsinites had their absentee ballots counted instead

   of rejected as too late. 12 Absent this extension, those voters would have had to choose between

   risking their lives and not voting.

           119.     Extending the Election Day Receipt Deadline also would not harm the State’s

   interest in the orderly administration of elections in Oklahoma.

           120.     Counting ballots continues after Election Day under normal circumstances. County

   election boards do not certify results for county offices until 5:00 pm on the Friday after Election

   Day, and the State Board does not certify results for state officers until after 5:00 p.m. a week after

   Election Day. Okla. Stat. tit. 26, § 7-136. Nor does state law mandate a particular time for public

   release of election results; it requires only that the results of the absentee ballots shall not be

   announced “earlier than 7:00 p.m. on election day.” Id. § 8-115.

   E.      The Absentee Assistance Ban prohibits Plaintiffs and other organizations from
           rendering necessary aid to absentee voters during this global pandemic and cannot
           be justified by sufficiently weighty State interests.

           121.     Oklahoma’s Absentee Assistance Ban prevents anyone but the voter from mailing

   or returning his or her absentee ballot. See id. §§ 14-108(A), 14-120; Okla. Admin. Code

   § 230:30-11-1.1(a).

           122.     During a time when the mail is unreliable and people are rightfully afraid to leave

   their houses and come into contact with others, the Absentee Assistance Ban imposes unjustifiable

   burdens on the right to vote.



   12
      The data regarding ballots that arrived between April 8 and April 13, 2020 in Wisconsin can be found at
   https://elections.wi.gov/blog and https://electionlawblog.org/?p=110746. As of 8:00 p.m. on April 7, 2020, there had
   been 990,129 absentee ballots returned. See Election Day Update Blog, Wis. Elections Comm’n,
   https://elections.wi.gov/blog. The Wisconsin Elections Commission reported that, ultimately, 1,132,923 absentee
   ballots were returned and counted, suggesting that 142,794 ballots were able to be counted that would not otherwise
   have been. See 2020 Spring Election and Presidential Preference Vote Ballot Status as of April 17, 2020,
   https://elections.wi.gov/sites/elections.wi.gov/files/2020-04/Ballot%20Data%20as%20of%20April%2017%202020.
   pdf.


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          123.    As discussed above, the methods by which the novel coronavirus is transmitted

   makes voting in person a risky proposition, even for younger voters with no known pre-existing

   conditions.

          124.    Even under more normal circumstances, the Absentee Assistance Ban can impose

   a severe burden on the right to vote that falls disproportionately on low-income, minority, and rural

   voters who generally have less access to postal service, live in areas lacking reliable access to

   public transportation and broadband internet, and live farther away from their county election

   board’s office (typically located in a city center), as well as voters who receive their ballots too

   late to be sure that they will be delivered to elections officials in time to be counted.

          125.    Indeed, the Ninth Circuit recently struck down a statute criminalizing the collection

   and delivery of another’s ballot because it disproportionately burdened minority voters. DNC. v.

   Hobbs, 948 F.3d 989, 1033 (9th Cir. 2020) (en banc).

          126.    In the context of the current pandemic, the burdens imposed on the right to vote by

   the Absentee Assistance Ban are both more severe and more likely to detrimentally impact a

   substantially larger number of voters. Simply put, it prohibits an absolutely crucial means of

   ensuring that voters are able to safely and successfully cast an absentee ballot.

          127.    But for the Absentee Voter Ban, DCCC and the Oklahoma Democratic Party could

   and would ensure that absentee voting is safe and reliable for many voters by collecting and timely

   returning voters’ absentee ballots.

          128.    The Ban’s burden on voters and the organizations serving them far outweighs any

   State interest in its enforcement.

          129.    The State has no inherent interest in who returns a ballot. (Indeed, the State

   probably cannot tell who dropped a particular ballot in the mail.)




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            130.   The Ban is useful only to the extent that preventing someone other than the voter

   from returning the ballot also prevents that other person from filling out the ballot. But Oklahoma’s

   other laws making it a felony to vote another person’s ballot or interfere “with the orderly and

   lawful conduct of an election” are better tailored to the goal of preventing voter fraud. Okla. Stat.

   tit. 26, §§ 16-102, 16-113. And, as mentioned above, voter fraud is virtually nonexistent in the

   State.

            131.   It is now more critical than ever that organizations like DCCC and the Oklahoma

   Democratic Party be allowed to help voters safely express themselves at the ballot box.

            132.   Absent the Ban, DCCC would focus on ensuring low-income communities,

   including voters living in public housing and high-stress communities, that tend to have fewer

   polling locations and difficulty staffing these locations, can cast their ballots.

            133.   Similarly, the Oklahoma Democratic Party would collect the sealed and voted

   absentee ballots at the voter’s request, particularly concentrating on elderly voters at retirement

   homes and assisting living facilities to enable those with limited mobility and who lack of ready

   access to postage to return their completed ballot.

                                         CAUSES OF ACTION

                                            COUNT I
                               First and Fourteenth Amendments
              U.S. Const. amend. I and XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201–2202
                               Undue Burden on the Right to Vote
                                    (All Challenged Provisions)

            134.   Plaintiffs reallege and incorporate by reference all prior paragraphs of this

   Complaint and the paragraphs in the counts below as though fully set forth herein.

            135.   Under the Anderson-Burdick balancing test, a court considering a challenge to a

   state election law must carefully balance the character and magnitude of injury to the First and

   Fourteenth Amendment rights that the plaintiff seeks to vindicate against “‘the precise interests

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   put forward by the State as justifications for the burden imposed by its rule,’ taking into

   consideration ‘the extent to which those interests make it necessary to burden the plaintiff’s

   rights.’” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S.

   780, 789 (1983)).

          136.    “However slight th[e] burden [on the right to vote] may appear, . . . it must be

   justified by relevant and legitimate state interests sufficiently weighty to justify the limitation.”

   Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191 (2008) (Stevens, J., controlling op.)

   (quotation marks omitted); see also Fish v. Schwab, No. 18-3133, 2020 WL 2050644, at *13

   (10th Cir. Apr. 29, 2020).

          137.    A state may just justify practices that impinge upon fundamental rights by citing

   concerns about “administrative convenience.” See Taylor v. Louisiana, 419 U.S. 522, 535 (1975).

          138.    Unless Plaintiffs are granted the relief requested herein, thousands of Oklahoma

   voters, including Plaintiffs’ members and constituents, will suffer severe burdens on their right to

   vote as a result of the Challenged Provisions in the upcoming elections, some to the point of

   complete disenfranchisement.

          139.    For the reasons discussed, the Notarization/Witness/Photo ID Requirement raise

   constitutional concerns in any context, but in the current unprecedented public health crisis, the

   Requirements force voters to violate social distancing measures and interact with other people and

   touch common objects—all actions that could expose them to COVID-19—and the burdens they

   impose cannot be justified by any sufficiently weighty State interest.

          140.    Voter fraud is extremely rare in Oklahoma and in other states without such severe

   burdens on the absentee voting process. And the State’s interest in maintaining the integrity of its

   elections is sufficiently served by a voter’s affidavit sworn under penalty of perjury, as the




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   Oklahoma Supreme Court decided, combined with the threat of prosecution under Oklahoma’s

   voter fraud laws for casting another’s ballot. League of Women Voters, 2020 OK 26, 2020 WL

   2111348.

          141.    For the reasons discussed, Oklahoma’s Postage Requirement also imposes an

   undue burden on the method of voting that is indisputably the safest during these unprecedented

   times. Its burdens, moreover, fall more severely on low-income voters, who already bear the brunt

   of the ongoing public health emergency. But no voter should be forced to leave his or her home in

   the middle of a pandemic in search of a stamp in order to exercise his or her most fundamental

   right. The only plausible State interest justifying the Requirement is a lack of administrative

   resources. But that concern cannot outweigh the heavy burden that it imposes on voters.

          142.    The Election Day Receipt Deadline similarly imposes a severe burden on the

   fundamental right to vote, especially during the COVID-19 crisis, as the U.S. Supreme Court

   recently recognized in RNC v. DNC. Even before the pandemic began, the Election Day Receipt

   Deadline disenfranchised thousands of Oklahomans. Now, it threatens to disenfranchise thousands

   more. The State cannot offer an interest substantially weighty enough to overcome the burdens

   imposed on voters’ fundamental rights.

          143.    Finally, the Absentee Assistance Ban unduly burdens the right to vote because it

   cannot be justified by State interests under any circumstances, but in the current circumstances in

   particular, it denies Oklahoma voters the safest and most effective option to return their absentee

   ballots. The State’s interest is in ensuring that the voter lawfully marks his or her own ballot, not

   in preventing others from assisting the lawful voter in returning that sealed and voted ballot.

   Oklahoma has many laws tailored to this specific interest, including making it a felony to fill out

   another’s ballot, influence the vote of another, and/or interfere with the conduct of any election.




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   There is thus no justifiable basis for burdens that the Ban imposes under any circumstances, but

   this is doubly so during the ongoing health crisis.

             144.   Because the Challenged Provisions do not sufficiently support a State interest to

   justify the resulting burdens on the right to vote, they violate the First and Fourteenth Amendments.

                                              COUNT II
                                               Poll Tax
                         U.S. Const. amends. XIV and XXIV, 42 U.S.C. § 1983
                                       Imposition of a Poll Tax
                                        (Postage Requirement)

             145.   Plaintiffs reallege and incorporate by reference all prior paragraphs of this

   Complaint and the paragraphs in the counts below as though fully set forth herein.

             146.   The Twenty-Fourth Amendment to the U.S. Constitution provides: “The right of

   citizens of the United States to vote in any primary or other election for President or Vice President,

   for electors for President or Vice President, or for Senator or Representative in Congress, shall not

   be denied or abridged by the United States or any State by reason of failure to pay any poll tax or

   other tax.” U.S. Const. amend XXIV, § 1. Voters must not have to pay “a price for the privilege

   of exercising the franchise.” Harman v. Forssenius, 380 U.S. 528, 539 (1965).

             147.   Oklahoma’s requirement that voters pay for postage in order to vote absentee

   imposes an unconstitutional poll tax in violation of the Twenty-Fourth Amendment. Voting

   absentee is the only option that allows voters to stay safely in their homes during the COVID-19

   crisis.

             148.   For the reasons stated above, Defendants have deprived and will continue to deprive

   Plaintiffs and its members and constituents of their right to vote in federal elections, granted to

   them by the Twenty-Fourth Amendment to the U.S. Constitution and protected by 42 U.S.C.

   § 1983.




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                                             COUNT III
                                             Due Process
                              U.S. Const. Amend. XIV, 42 U.S.C. § 1983
                                  Denial of Procedural Due Process
                                   (Election Day Receipt Deadline)

          149.    Plaintiffs reallege and incorporate by reference all prior paragraphs of this

   Complaint and the paragraphs in the counts below as though fully set forth herein.

          150.    The Due Process Clause of the U.S. Constitution prohibits the states from depriving

   “any person of . . . liberty . . . without due process of law.” U.S. Const. amend. XIV, § 1. Which

   protections are due in a given case requires a careful analysis of the importance of the rights and

   the other interests at stake. See Mathews v. Eldridge, 424 U.S. 319, 334–35 (1976).

          151.    Courts must first consider the nature of the interest that will be affected by the

   government’s actions as well as the “degree of potential deprivation that may be created” by

   existing procedures. Id. at 341. Second, courts consider the “fairness and reliability” of the existing

   procedures “and the probable value, if any, of additional procedural safeguards.” Id. at 343.

   Finally, courts consider the public interest, which “includes the administrative burden and other

   societal costs that would be associated with” additional or substitute safeguards. Id. at 347 “[D]ue

   process is flexible and calls for such procedural protections as the particular situation demands.”

   Id. at 334 (quotation and citation omitted).

          152.    Oklahoma’s absentee voting system must comport with due process. See Raetzel v.

   Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358 (D. Ariz. 1990). “Such due

   process is not provided when the election procedures [for voting absentee]” do not adequately

   protect the right to vote or ensure that an “individual is not continually and repeatedly denied so

   fundamental a right.” Id.; see also Saucedo v. Gardner, 335 F. Supp. 3d 202, 217 (D.N.H. 2018)

   (“Having induced voters to vote by absentee ballot, the State must provide adequate process to

   ensure that voters’ ballots are fairly considered and, if eligible, counted.”).

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           153.    The nature of the interest at stake in this case⸺the right to vote and to have that

   vote count⸺is the most precious liberty interest of all because it is tied to all other basic civil and

   political rights.

           154.    Oklahoma’s existing absentee voting procedures too often disenfranchise voters

   because (1) many voters do not learn of the Election Day Receipt Deadline before Election Day,

   and (2) even voters who do learn of the Election Day Receipt Deadline may not have their ballots

   counted, through no fault of their own, if they do not arrive at their county election board’s office

   by 7:00 p.m. on Election Day.

           155.    Oklahoma’s Election Day Receipt Deadline is neither a reliable nor fair way to

   administer voting absentee. The Election Day Receipt Deadline and the corresponding cutoff for

   casting ballots is unreliable because many voters are not even sent their absentee ballots until after

   the mailing cutoff, leaving them with no safe mail alternative for their votes to be counted. Nor is

   the Election Day Receipt Deadline fair because it forces those voters to cast their ballots with

   incomplete information and before candidates have delivered their final messages to voters.

           156.    The value of additional or substitute procedural safeguards to ensure that the

   absentee ballots of Oklahoma voters are both meaningfully cast and actually counted is readily

   apparent. A substitute procedure⸺requiring absentee ballots to be postmarked on or before

   Election Day and received by the county within seven days after Election Day to be counted, and

   moving the county and state certification dates by a week⸺resolves the inequities inherent in

   Oklahoma’s Election Day Receipt Deadline.

           157.    A postmark date not only offers a reliable date to Oklahoma voters by which they

   must cast their ballots, but it also ensures that voters who receive their ballots late, through no fault

   of their own, are still able to engage in the franchise. A postmark date additionally ensures that all




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   of Oklahoma’s voters can consider any information that may arise and influence their choices in

   the final week of the election.

             158.   Having introduced the option to vote absentee, Oklahoma must establish adequate

   procedures to ensure that voters have a reliable, fair, and effective method to cast their ballots.

   Because Oklahoma’s Election Day Receipt Deadline is inadequate, and the State is readily capable

   of instituting a substitute procedure which would protect those voters’ rights with minimal burden

   to the State, Oklahoma’s Election Day Receipt Deadline violates voters’ procedural due process

   rights.

                                             COUNT IV
                                     Free Speech and Association
                               U.S. Const. Amend. I, 42 U.S.C. § 1983
                          Violation of Free Speech and Associational Rights
                                      (Absentee Assistance Ban)

             159.   Plaintiffs reallege and incorporate by reference all prior paragraphs of this

   Complaint and the paragraphs in the counts below as though fully set forth herein.

             160.   The First Amendment protects against the passage and enforcement of laws

   “prohibiting the free exercise [of] or abridg[ment] of freedom of speech.” U.S. Const. amend. I.

             161.   The Supreme Court has applied “exacting scrutiny” to review laws governing

   election-related speech. See McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 345 (1995); see

   also League of Women Voters v. Hargett, 400 F. Supp. 3d 706, 722 (M.D. Tenn. 2019) (“[L]aws

   that govern the political process surrounding elections—and, in particular, election-related speech

   and association—go beyond merely the intersection between voting rights and election

   administration, veering instead into the area where ‘the First Amendment has its fullest and most

   urgent application.’”) (quoting Eu v. S.F. Cty. Democratic Cent. Comm., 489 U.S. 214, 223

   (1989)).




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          162.    Restrictions on such speech are unconstitutional when they “significantly inhibit”

   election-related speech and association and are “not warranted by the state interests . . . alleged to

   justify [the] restrictions.” Buckley v. Am. Constitutional Law Found., 525 U.S. 182, 192 (1999).

          163.    Voter turnout efforts, including assisting voters with the return of their sealed and

   voted ballots, is one way in which DCCC and Oklahoma Democratic Party communicate their

   belief in the power and importance of participating in democratic elections.

          164.    Such activity is “the type of interactive communication concerning political change

   that is appropriately described as ‘core political speech.’” Meyer v. Grant, 486 U.S. 414, 422-23

   (1988); cf. League of Women Voters, 400 F. Supp. 3d at 720 (“Encouraging others to register to

   vote is pure speech, and, because that speech is political in nature, it is a core First Amendment

   activity.” (quotation marks and alterations omitted)).

          165.    The act of assisting voters by delivering completed ballots is inherently expressive,

   and an individual or organization that conducts such activities engages in speech by encouraging

   voting. See Bernbeck v. Moore, 126 F.3d 1114, 1115 (8th Cir. 1997) (rejecting argument that

   regulating an election “process” raises no First Amendment concerns).

          166.    These initiatives also facilitate the political participation of voters who have

   experienced historically low turnout rates when compared to the rest of the population, or who for

   various reasons, including disability, advanced age, or lack of access to transportation, would have

   difficulty voting.

          167.    This is why DCCC’s and Oklahoma Democratic Party’s ability to collect and

   deliver sealed and voted ballots would significantly further their missions to serve

   underrepresented populations as well as their members’ and constituents’ access to the ballot box.




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           168.    Furthermore, First Amendment rights “include the right to band together for the

   advancement of political beliefs.” Hadnott v. Amos, 394 U.S. 358, 364 (1969). “An organization’s

   attempt to broaden the base of public participation in and support for its activities is conduct

   ‘undeniably central to the exercise of the right of association.’” Am. Ass’n of People with

   Disabilities v. Herrera, 690 F. Supp. 2d 1183, 1202 (D.N.M. 2010) (citing Tashjian v. Republican

   Party of Conn., 479 U.S. 208, 214–15 (1986)).

           169.    The conversations and interactions between DCCC and Oklahoma Democratic

   Party and their respective organizers and voters surrounding the submission of ballots are forms

   of protected political speech and association. See Williams v. Rhodes, 393 U.S. 23, 30 (1968)

   (describing “overlapping” rights “of individuals to associate for the advancement of political

   beliefs” and “of qualified voters . . . to cast their votes effectively”); Project Vote v. Blackwell, 455

   F. Supp. 2d 694, 700–01 (N.D. Ohio 2006) (explaining “participation in voter registration

   implicates a number of both expressive and associational rights which . . . belong to—and may be

   invoked by—not just the voters seeking to register, but by third parties who encourage

   participation in the political process”).

           170.    Oklahoma’s Absentee Assistance Ban violates that protection by “limit[ing] the

   number of voices who will convey [DCCC’s and Oklahoma Democratic Party’s] message,” and

   “the size of the audience they can reach[,]” thereby burdening the speech and associational rights

   of DCCC and Oklahoma Democratic Party and the voters they serve. Meyer, 486 U.S. at 422–23.

           171.    These burdens are severe, and the Absentee Assistance Ban is not narrowly tailored

   to advance a compelling State interest. Indeed, given the current public health crisis, the type of

   speech that DCCC and Oklahoma Democratic Party seek to engage in is “the most effective,




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   fundamental, and [likely] economical avenue of political discourse[;]” yet it is directly foreclosed

   by the Absentee Assistance Ban. Id. at 424.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their favor

   and against Defendants, and:

          A.      Preliminarily and permanently enjoin the Notarization/Witness/Photo ID
                  Requirement;

          B.      Enjoin Defendants and their respective agents, officers, employees, and successors,
                  and all persons acting in concert with each or any of them, from rejecting ballots
                  for failure to comply with the Notarization/Witness/Photo ID Requirement so long
                  as the voter has signed his or her ballot affidavit, which shall be done under penalty
                  of perjury;

          C.      Declare that the Postage Requirement violates the Fourteenth and Twenty-Fourth
                  Amendments as an unconstitutional poll tax;

          D.      Preliminary and permanently enjoin Defendants, their respective agents, officers,
                  employees, and successors, and all persons acting in concert with each or any of
                  them, from requiring that voters provide postage on their absentee ballots and
                  further require that Oklahoma provide prepaid postage on all absentee ballots;

          E.      Declare that the Election Day Receipt Deadline violates the Due Process Clause;

          F.      Preliminary and permanently enjoin Defendants, their respective agents, officers,
                  employees, and successors, and all persons acting in concert with each or any of
                  them, from rejecting ballots that are postmarked by Election Day and arrive at their
                  respective county election board within seven days, and to interpret the term
                  “postmark” to refer to any type of imprint applied by the USPS to indicate the
                  location and date the USPS accepts custody of a piece of mail, including bar codes,
                  circular stamps, or other tracking marks, and, where a ballot does not bear a
                  postmark date, requiring the State to presume that the ballot was mailed on or before
                  Election Day unless the preponderance of the evidence demonstrates it was mailed
                  after Election Day,

          G.      Enjoin the county certification deadline of the Friday after Election Day and the
                  state certification deadline of the Tuesday after Election Day, and postpone each
                  by a week;

          H.      Declare that the Absentee Assistance Ban violates the First Amendment as an
                  unreasonable restriction on speech and association;



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        I.    Preliminary and permanently enjoin Defendants, their respective agents, officers,
              employees, and successors, and all persons acting in concert with each or any of
              them, from enforcing the Absentee Assistance Ban, thus allowing voters to
              designate any third party⸺whether paid or not⸺to assist in the collection and
              submission of their absentee ballots;

        J.    Award Plaintiff its costs, expenses, and reasonable attorneys’ fees pursuant to, inter
              alia, 42 U.S.C. § 1988 and other applicable laws; and

        K.    Grant Plaintiff such other and further relief as the Court deems just and proper.




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